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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

       V.

                                                        Case No. 22-mj-22
IL YA LICHTENSTEIN, and
                                                        Chief Judge Beryl A. Howell
HEATHER MORGAN

                            Defendant.




              !DEFENDANT'S PROPOSED] ORDER GRANTING MOTION FOR
            ADMISSION OF ATTORNEY NOLA B. HELLER PRO HAC VICE

       The Court has reviewed the Defendants' motion for admission of attorney Nola B. Heller
pro hac vice. Upon consideration of that motion, the Court grants attorney Nola B. Heller pro
hac vice admission to this Court.



IT IS SO ORDERED.

DATED: - - -
                                                  United States District Judge
